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                         UNITED STATES DISTRICT COURT
11                     NORTHERN DISTRICT OF CALIFORNIA
12 QUINCY GRIFFIN PERKINS, JOSE                    CASE NO.: 3:23-cv-00502-WHO
   JOHNSON, IGNACIO PARKS, AND
13 TIWAN JOHNSON, individually and on              Consolidated with Case Nos. 3:23-cv-
   behalf of all others similarly situated,        01694-WHO and 4:22-cv-07456-JST
14
                                                   FIRST AMENDED
15                   Plaintiffs,                   CONSOLIDATED CLASS AND
                                                   PAGA ACTION COMPLAINT:
16
           v.
17                                                 1.   Failure to Pay Wages Including
   HADCO METAL TRADING SANTA FE                         Overtime as Required by Labor
18                                                      Code §§ 510 and 1194
   SPRINGS CA dba RYDER
19 INTEGRATED LOGISTICS INC.; and                  2.   Failure to Provide Meal Periods
   DOES 1-50, inclusive,                                as Required by Labor Code §§
20                                                      226.7, 512 and IWC Wage
21                   Defendants.                        Orders
                                                   3.   Failure to Provide Rest Periods
22                                                      as Required by Labor Code §§
23                                                      226.7, 512
                                                   4.   Failure to Pay Timely Wages
24                                                      Required by Labor Code § 203
25                                                 5.   Failure to Provide Accurate
                                                        Itemized Wage Statements as
26                                                      Required by Labor Code § 226
27                                                 6.   Failure to Indemnify Necessary
                                                        Business Expenses as Required
28                                                      by Labor Code § 2802


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 1
                                                7.   Violation of Business &
 2                                                   Professions Code § 17200, et seq.
 3                                              8.   PAGA Penalties

 4                                              DEMAND FOR JURY TRIAL
 5

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 1        Plaintiffs QUINCY GRIFFIN PERKINS, JOSE JOHNSON, IGNACIO
 2 PARKS, AND TIWAN JOHNSON (collectively, “Plaintiffs”), individually and on

 3 behalf of all others similarly situated (hereinafter collectively referred to as the

 4 “Class” or “Class Member”), hereby files this Complaint against Defendants

 5 HADCO       METAL TRADING SANTA FE SPRINGS CA d/b/a RYDER
 6 INTEGRATED          LOGISTICS        INC.       and   RYDER       TRANSPORTATION
 7 SOLUTIONS, LLC; and DOES 1-50, inclusive (collectively “Defendants”) and

 8 alleges on information and belief as follows:

 9                            I. JURISDICTION AND VENUE
10        1.     This class action is brought pursuant to Federal Rules of Civil
11 Procedure Rule 23.

12        2.     This Court has jurisdiction over this action pursuant to the Action
13 Fairness Act of 2005, codified at 28 U.S.C. § 1332(d).

14        3.     This Court has jurisdiction over Defendants because, upon information
15 and belief, each Defendant either has sufficient minimum contacts in California, or

16 otherwise intentionally avails itself of the California market so as to render the

17 exercise of jurisdiction over it by the California Courts consistent with traditional

18 notions of fair play and substantial justice.

19        4.     Venue is proper in this Court because upon information and belief, one
20 or more of the Defendants reside, transact business, or have offices in this County

21 and/or the acts or omissions alleged herein took place in this County.

22                                      II. PARTIES
23        5.      Plaintiffs QUINCY GRIFFIN PERKINS was employed by Defendants
24 in approximately July 28, 2021, as a Non-Exempt Employee with the title of Truck

25 Driver and worked during the liability period for Defendants until his separation

26 from Defendants’ employ in approximately November 17, 2021. Plaintiff’s duties

27 included, but were not limited to hauling steel and driving freight trucks.

28        6.     Plaintiff JOSE JOHNSON started working for Defendants as a truck

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 1 driver in July 2021, until his separation from employment on July 26, 2022.

 2        7.      Plaintiff IGNACIO PARKS started working for Defendants as a truck
 3 driver in October 2021 until his separation from employment on August 5, 2022.

 4        8.      Plaintiff TIWAN JOHNSON started working for Defendants as a
 5 warehouse associate in October 2021 until his separation from employment on April

 6 3, 2023.

 7        9.      Defendant RYDER INTEGRATED LOGISTICS INC. operates as a
 8 transportation and logistics business.

 9        10.     Defendant RYDER TRANSPORTATION SOLUTIONS, LLC operates
10 as a transportation and logistics business.

11        11.     Other than identified herein, Plaintiffs are unaware of the true names,
12 capacities, relationships, and extent of participation in the conduct alleged herein, of

13 the Defendants sued as DOES 1 through 50, but is informed and believes and

14 thereon alleges that said defendants are legally responsible for the wrongful conduct

15 alleged herein and therefore sues these defendants by such fictitious names.

16 Plaintiffs will amend this complaint when their true names and capacities are

17 ascertained.

18        12.     Plaintiffs are informed and believes and thereon alleges that each
19 defendant, directly or indirectly, or through agents or other persons, employed
20 Plaintiffs and other members of the Class, and exercised control over their wages,

21 hours, and working conditions. Plaintiffs are informed and believes and thereon

22 alleges that each Defendant acted in all respects pertinent to this action as the agent

23 of the other Defendants, carried out a joint scheme, business plan or policy in all

24 respects pertinent hereto, and the acts of each Defendant are legally attributable to

25 the other defendants.

26                         III. CLASS ACTION ALLEGATION
27        13.     Plaintiffs bring this action individually and on behalf of all others
28 similarly situated as a class action pursuant to Code of Civil Procedure § 382. The

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 1 members of the Class are defined as follows:

 2
           All persons who have been employed by Defendants as Non-Exempt
 3         Employees or equivalent positions, however titled, in the state of California
 4         within four (4) years from the filing of the Complaint in the actions until its
           resolution. (collectively referred to as the “Class” or “Plaintiffs’ Class” or
 5         “Class Members”).
 6         14.    Plaintiffs also seek to represent the subclass(es) composed of and
 7 defined as follows:

 8
           Sub-Class 1: All Class Members who are or were employed by Defendants
 9         who worked in excess of six or ten hours in a work-day but were not provided
10         with a timely, uninterrupted, duty-free thirty-minute meal period (hereinafter
           collectively referred to as the “Meal Period Subclass”).
11

12         Sub-Class 2: All Class Members who are or were employed by Defendants
13         who worked in excess of three and a half (3.5) or ten hours in a work-day but
           were not authorized and permitted a rest period (hereinafter collectively
14         referred to as the “Rest Period Subclass”).
15

16         Sub-Class 3: All Class Members who are or were employed by Defendants at
           any time between November 2021 and the present and who received wage
17         statements from Defendant (hereinafter collectively referred to as the “Wage
18         Statement Subclass”).
19
           Sub-Class 4: All Class Members who have been employed by Defendants at
20         any time between November 2019 and the present and have separated their
           employment (hereinafter collectively referred to as the “Waiting Time Penalty
21         Subclass”)
22         Sub-Class 5: All Class Members who are or were employed by Defendants
           and subject to Defendant’s Unfair Business Practices (hereinafter collectively
23         referred to as the “Unfair Business Practice Subclass”).
24
           15.    Plaintiffs reserve the right under applicable laws to amend or modify
25
     the class definition with respect to issues or in any other ways. Plaintiffs are member
26
     of the Class as well as each of the Sub-Classes.
27
           16.    The term “Class” includes Plaintiffs and all members of the Class and
28
     each of the Sub-Classes, if applicable. Plaintiffs seek class-wide recovery based on

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 1 the allegations set forth in this complaint.

 2         17.          There is a well-defined community of interest in the litigation and the
 3 proposed Class is easily ascertainable through the records Defendants are required

 4 to keep.

 5         18.          Numerosity. The members of the Class are so numerous that individual
 6 joinder of all of them as Plaintiffs is impracticable. While the exact number of the

 7 Class members is unknown to Plaintiffs at this time, Plaintiffs are informed and

 8 believes and thereon alleges that there are at least 100 (one hundred) Class

 9 members.

10         19.          Commonality. Common questions of law and fact exist as to all Class
11 members and predominate over any questions that affect only individual members

12 of the Class. These common questions include, but are not limited to:

13                 i.        Whether Defendants failed to pay minimum wage compensation
14
     to Plaintiffs and Class Members for all hours worked;
15
                  ii.        Whether Defendants failed to accurately pay overtime and sick
16
     time wages to Plaintiffs and Class Members;
17
                 iii.        Whether Defendants failed to reimburse necessary business
18

19 expenses pursuant to Labor Code § 2802;
20               iv.         Whether Defendants violated Labor Code §§ 226.7, 512, and
21 applicable IWC Wage Orders, by failing to authorize and permit daily rest periods to

22 Plaintiffs and Class Members for every four hours or major fraction thereof worked

23
     and failing to compensate said employees one hours wages in lieu of rest periods;
24
                  v.         Whether Defendants violated Labor Code §§ 226.7, 512 and
25
     applicable IWC Wage Orders, by failing to provide a meal period to Plaintiffs and
26
     Class Members on days they worked work periods in excess of five and ten hours
27
     and failing to compensate said employees one hour wages in lieu of meal periods;
28
                 vi.         Whether Defendants failed to maintain accurate time record
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 1 including recording Plaintiffs and Class Members’ meal periods pursuant to Labor

 2 Code § 1174.5 and the applicable IWC Wage Orders;

 3               vii.        Whether Defendants provided accurate itemized wage statements
 4 pursuant to Labor Code section 226;

 5            viii.          Whether Defendants violated Business and Professions Code and
 6 Labor Code §§ 201-203, 204, 210, 510, 512, 558, 226, 226.3, 226.7, 1174, 1174.5,

 7 1175, 1194, 1197, 1197.1, 1198, 2802 and applicable IWC Wage Orders which

 8 violation constitutes a violation of fundamental public policy; and

 9               ix.         Whether Plaintiffs and the Members of the Plaintiffs Class are
10 entitled to equitable relief pursuant to Business and Professions Code § 17200, et.

11 seq.

12                x.         Whether Plaintiffs and the Members of the Plaintiffs Class are

13 entitled to relief in the form of back wages, penalties and interest for failure to pay

14
     minimum wages pursuant to Labor Code §§ 558, 1194 and 1197.

15
           20.          Typicality. Plaintiffs’ claims herein alleged are typical of those claims

16
     which could be alleged by any member of the Class and/or Subclass, and the relief

17
     sought is typical of the relief which would be sought by each member of the Class

18
     and/or Subclass in separate actions. Plaintiffs and all members of the Class and or

19
     Subclass sustained injuries and damages arising out of and caused by Defendants'

20
     common course of conduct in violation of California laws, regulations, and statutes

21
     as alleged herein.

22
           21.          Adequacy. Plaintiffs are qualified to, and will fairly and adequately

23
     protect the interests of each member of the Class and/or Subclass with whom she

24
     has a well-defined community of interest and typicality of claims, as demonstrated

25
     herein. Plaintiffs acknowledges an obligation to make known to the Court any

26
     relationships, conflicts, or differences with any member of the Class and/or

27
     Subclass. Plaintiffs’ attorneys and the proposed Counsel for the Class and Subclass

28
     are versed in the rules governing class action discovery, certification, litigation, and

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 1 settlement and experienced in handling such matters. Other former and current

 2 employees of Defendants may also serve as representatives of the Class and

 3 Subclass if needed.

 4        22.    Superiority. A class action is superior to other available means for the
 5 fair and efficient adjudication of the claims of the Class and would be beneficial for

 6 the parties and the court. Class action treatment will allow a large number of

 7 similarly situated persons to prosecute their common claims in a single forum,

 8 simultaneously, efficiently, and without the unnecessary duplication of effort and

 9 expense that numerous individual actions would require. The damages suffered by

10 each Class member are relatively small in the sense pertinent to class action

11 analysis, and the expense and burden of individual litigation would make it

12 extremely difficult or impossible for the individual Class Members to seek and

13 obtain individual relief. A class action will serve an important public interest by

14 permitting such individuals to effectively pursue recovery of the sums owed to

15 them. Further, class litigation prevents the potential for inconsistent or contradictory

16 judgments raised by individual litigation.

17        23.    Public Policy Considerations: Employers in the state of California
18 violate employment and labor laws every day. Current employees are often afraid to

19 assert their rights out of fear of direct or indirect retaliation. Former employees are
20 fearful of bringing actions because they believe their former employers may damage

21 their future endeavors through negative references and/or other means. The nature of

22 this action allows for the protection of current and former employees’ rights without

23 fear or retaliation or damage.

24                           IV. FACTUAL ALLEGATIONS
25        24.    At all times set forth herein, Defendants employed Plaintiffs and other
26 persons in the capacity of non-exempt positions, however titled, throughout the state

27 of California.

28        25.    Plaintiffs are informed and believes Class Members have at all times

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 1 pertinent hereto been Non-Exempt within the meaning of the California Labor Code

 2 and the implementing rules and regulations of the IWC California Wage Orders.

 3        26.    Defendants continue to employ Non-Exempt Employees, however
 4 titled, in California and implement a uniform set of policies and practices to all non-

 5 exempt employees, as they were all engaged in the job duties related to Defendant’s

 6 transportation/trucking business.

 7        27.    Plaintiffs are informed and believe, and thereon alleges, that
 8 Defendants are and were advised by skilled lawyers and other professionals,

 9 employees, and advisors with knowledge of the requirements of California’s wage

10 and employment laws.

11        28.    Plaintiffs are informed and believe that during the relevant time-frame,
12 all Class Members are citizens of the state of California.

13        29.    During the relevant time-frame, Defendants compensated Plaintiffs and
14 Class Members based upon an hourly rate.

15        30.    In addition, the Class Members frequently worked in excess of eight (8)
16 hours a day and/or over forty (40) hours in a workweek, but were not properly paid

17 for such time at the employee’s correct rate of pay per hour for overtime.

18        31.    Defendants also failed to properly calculate Plaintiffs’ and the Class
19 Members’ regular rate of pay including but not limited to by failing to include all
20 forms of compensation/remuneration in the regular rate including but not limited to

21 bonuses, incentives, commissions, training and orientation pay, shift differential

22 pay, and other compensation for overtime calculation purposes.

23        32.    Furthermore, at all relevant times, Plaintiffs and other non-exempt
24 employees were not paid all overtime wages based on Defendants’ invalid and

25 unlawful Alternative Workweek Schedule.

26        33.    Furthermore, at all relevant times, Defendants also failed in its
27 obligation to provide Plaintiffs and other non-exempt employees the legally required

28 paid sick days at the legal rate pursuant to Labor Code §§ 246(a),(b), which requires

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 1 that “[a]n employee who, on or after July 1, 2015, works in California for the same

 2 employer for 30 or more days within a year from the commencement of

 3 employment is entitled to paid sick days. . . at the rate of not less than one hour per

 4 every 30 hours worked, beginning at the commencement of employment.” Labor

 5 Code § 246(l)(1) provides that paid sick time for non-exempt employees must be

 6 “calculated in the same manner as the regular rate of pay for the workweek in which

 7 the employee uses paid sick time, whether or not the employee actually works

 8 overtime in that workweek.”

 9        34.    Additionally, Labor Code § 246(l)(2) states that the paid sick time must
10 be “calculated by dividing the employee’s total wages, not including overtime

11 premium pay, by the employee’s total hours worked in the full pay periods of the

12 prior 90 days of employment.” Finally, Labor Code §246(i) requires employers to

13 “provide an employee with written notice that sets forth the amount of paid sick

14 leave available, or paid time off leave an employer provides in lieu of sick leave, for

15 use on either the employee’s itemized wage statement described in Section 226 or in

16 a separate writing provided on the designated pay date with the employee’s payment

17 of wages.”

18        35.    Here, at all relevant times, Defendants failed in its obligation to provide
19 Plaintiffs and other non-exempt employees the legally required paid sick days at the
20 legal rate, including all forms of compensation, pursuant to Labor Code §§ 246(a),

21 (b). As such, Defendants paid sick time below “regular rate of pay” as required by

22 Labor Code §§ 246(l) (1-2).         Based on the foregoing Labor Code violations,
23 Plaintiffs seek all civil and statutory penalties available.

24        36.    Plaintiffs and the Class Members were regularly required to work shifts
25 in excess of five hours without being provided a lawful meal period and over ten

26 hours in a day without being provided a second lawful meal period as required by

27 law.

28        37.    Plaintiffs and Class Members missed meal breaks several times a week

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 1 and had late meal breaks. Meal breaks were often interrupted and lasted for less than

 2 the 30 minutes required by law. Defendants failed to pay premium wages for

 3 missed, short or late meal breaks.

 4        38.   On information and belief, during the relevant time period, Defendants
 5 would modify Plaintiffs’ and Class Members’ time to include lawfully required

 6 meal periods even during times when Plaintiffs and Class Members did not receive a

 7 full 30-mintues of uninterrupted time for meal periods. Defendants also unlawfully

 8 deducted a full 30-minutes of time for meal periods no matter if a Labor Code

 9 compliant meal period was provided to Plaintiffs and Class Members. Resulting in

10 an underpayment of minimum and overtime wages.

11        39.   Indeed, during the relevant time, as a consequence of Defendants’
12 staffing and scheduling practices, work demands, and Defendants’ policies and

13 practices, Defendants frequently failed to provide Plaintiffs and the Class Members

14 timely, legally compliant uninterrupted 30-minute meal periods on shifts over five

15 hours as required by law.

16        40.   Similarly, as a consequence of Defendants’ staffing and scheduling
17 practices, work demands, and Defendants’ policies and practices, Defendants

18 frequently failed to provide Plaintiffs and the Class Members legally compliant

19 second meal periods on shifts over ten hours as required by law.
20        41.   Often times, Plaintiffs did not take a meal break, but Defendant’s
21 system would automatically clock Plaintiffs out for a meal break if he was stopped

22 for more than 30 minutes, despite being at a customer’s location and working.

23        42.   Plaintiffs and Class Members were required to keep their personal
24 cellphones on their persons at all times during their shifts in order to respond to

25 work related calls, even during meal periods.

26        43.   On information and belief, Plaintiffs and Class Members did not waive
27 their rights to meal periods under the law.

28        44.   Plaintiffs and the Class Members were not provided with valid lawful

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 1 on-duty meal periods.

 2          45.   Despite the above-mentioned meal period violations, Defendants failed
 3 to compensate Plaintiffs, and on information and belief, failed to compensate Class

 4 Members, one additional hour of pay at their regular rate as required by California

 5 law when meal periods were not timely or lawfully provided in a compliant manner.

 6          46.   Plaintiffs are informed and believe, and thereon alleges, that
 7 Defendants know, should know, knew, and/or should have known that Plaintiffs and

 8 the other Class Members were entitled to receive premium wages based on their

 9 regular rate of pay under Labor Code §226.7 but were not receiving such

10 compensation.

11          47.   In addition, during the relevant time frame, Plaintiffs and the Non-
12 Exempt Employees were systematically not authorized and permitted to take one net

13 ten-minute paid, rest period for every four hours worked or major fraction thereof,

14 including third rest breaks which is a violation of the Labor Code and IWC wage

15 order.

16          48.   Defendants failed to provide Plaintiffs and on information and belief
17 Class Members with legally required rest periods. For instance, Plaintiffs rarely took

18 any rest breaks due to the busy nature of their work schedule. On a daily basis,

19 Plaintiffs were required to work through rest periods, despite logging his rest
20 periods on the time clock.

21          49.   Plaintiffs and Class Members were required to keep their personal
22 cellphones on their persons at all times during their shifts in order to respond to

23 work related calls, even during rest breaks.

24          50.   Defendants maintained and enforced scheduling practices, policies, and
25 imposed work demands that frequently required Plaintiffs and Class Members to

26 forego their lawful, paid rest periods of a net ten minutes for every four hours

27 worked or major fraction thereof. Such requisite rest periods were not timely

28 authorized and permitted as a result of Defendants’ failure to provide relief for

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 1 Plaintiffs and Class Members to take their lawfully required breaks.

 2        51.    Despite the above-mentioned rest period violations, Defendants did not
 3 compensate Plaintiffs, and on information and belief, did not pay Class Members

 4 one additional hour of pay at their regular rate as required by California law,

 5 including Labor Code section 226.7 and the applicable IWC wage order, for each

 6 day on which lawful rest periods were not authorized and permitted.

 7        52.    On information and belief, Defendants also required Plaintiffs and
 8 Class Members to work off the clock to conduct pre-shift work activities. For

 9 instance, on a daily basis, Plaintiffs would arrive approximately 10 minutes early to

10 work to retrieve his paperwork for the day and speak with the dispatcher. Plaintiffs

11 then clocked in from the driver’s seat of his truck. Plaintiffs were not compensated

12 for their off the clock pre shift work activities.

13        53.    Similarly, on information and belief, Defendants also failed to
14 compensate Plaintiffs and Class Members for post-shift activities. On a daily basis,

15 at the end of his shift, Plaintiffs would clock out and then lock up the warehouse

16 prior to leaving. Plaintiffs were not compensated for time spent locking up after

17 clocking out.

18        54.    On information and belief, Defendants also required Plaintiffs and
19 Class Members to work off the clock because Defendants required employees to use
20 their personal cell phones for work related purposes, on and off the clock. For

21 instance, Defendant’s management would call and/or text message Plaintiffs while

22 off the clock to discuss work related matters. Often times, these text messages and

23 phone calls would occur as late as 8:00 p.m. Plaintiffs instructed his boss not to

24 contact him after work for work related purposes. Thereafter, if Plaintiffs did not

25 respond to management’s text messages or phone calls, Plaintiffs were written up

26 for it and subject to discipline. Despite these realities of the job, Plaintiffs were

27 never compensated for any of his off-the-clock communications for work purposes.

28        55.    Defendants also failed to reimburse Plaintiffs and Class Members for

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 1 business expenses incurred pursuant to Labor Code section 2802. For instance,

 2 Plaintiffs and Class Members were required to use their personal cellphones to carry

 3 out their work-related duties while under the direction and control of Defendants.

 4 Plaintiffs and Class Members were required to use their personal cell phones to

 5 communicate with Defendants’ management, while on and off the clock. Despite

 6 these realities, Defendants failed to reimburse Plaintiffs and Class Members for their

 7 personal cellphone use.

 8        56.    Defendants also failed to reimburse Plaintiffs and on information and
 9 belief Class Members for tools required for the job. For instance, Defendants

10 required Plaintiffs to provide their own pry bar tool, but failed to reimburse

11 Plaintiffs for the out -of-pocket cost.

12        57.    Defendants also failed to provide accurate, lawful itemized wage
13 statements to Plaintiffs and the Class Members in part because of the above-

14 specified violations. In addition, upon information and belief, Defendants omitted an

15 accurate itemization of total hours worked, including premiums due and owing for

16 meal and rest period violations, overtime pay, gross pay and net pay figures from

17 Plaintiffs and the Class Members’ wage statements.

18        58.    Plaintiffs are informed and believes, and thereon alleges, that at all
19 times herein mentioned, Defendants knew that at the time of termination of
20 employment (or within 72 hours thereof for resignations without prior notice as the

21 case may be) they had a duty to accurately compensate Plaintiffs and Class

22 Members for all wages owed including minimum wages, meal and rest period

23 premiums, and that Defendants had the financial ability to pay such compensation,

24 but willfully, knowingly, recklessly, and/or intentionally failed to do so in part

25 because of the above-specified violations.

26        59.    Defendants violated Labor Code section 203 by failing to timely pay
27 final wages owed.

28

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 1        60.    Upon information and belief, Defendants knew and or should have
 2 known that it is improper to implement policies and commit unlawful acts such as:

 3        (a)    requiring employees to work four (4) hours or a major fraction thereof
 4 without being provided a minimum ten (10) minute rest period and without

 5 compensating the employees with one (1) hour of pay at the employees’ regular rate

 6 of compensation for each workday that a rest period was not provided;

 7        (b)    requiring employees to work in excess of five (5) hours or ten (10)
 8 hours per day without being provided an uninterrupted thirty-minute meal period

 9 and/or a second meal period, and without compensating employees with one (1)

10 hour of pay at the regular rate of compensation for each workday that such a meal

11 period was not provided;

12        (c)    failing to pay overtime and minimum wages;
13        (d)    failing to provide accurate itemized wage statements;
14        (e)    failing to timely pay Plaintiffs and Class Members;
15        (f)    for improper use of consumer credit reports;
16        (g)    failure to reimburse business expenses; and
17        (h)    conducting and engaging in unfair business practices.
18        61.    In addition to the violations above, and on information and belief,
19 Defendants knew they had a duty to compensate Plaintiffs and Class Members for
20 the allegations asserted herein, and that Defendants had the financial ability to pay

21 such compensation, but willfully, knowingly, recklessly, and/or intentionally failed

22 to do so.

23        62.    Plaintiffs and Class Members they seek to represent are covered by,
24 and Defendants are required to comply with, applicable California Labor Codes,

25 Industrial Welfare Commission Occupational Wage Orders (hereinafter “IWC Wage

26 Orders”)     and corresponding applicable provisions of California Code of
27 Regulations, Title 8, section 11000 et seq.

28                            FIRST CAUSE OF ACTION

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 1              FAILURE TO PAY WAGES INCLUDING OVERTIME
 2                               (Against All Defendants)
 3        63.    Plaintiffs incorporate and re-alleges each and every allegation
 4 contained above as though fully set forth herein.

 5        64.    At all times relevant, the IWC wage orders applicable to Plaintiffs’ and
 6 the Class require employers to pay its employees for each hour worked at least

 7 minimum wage. “Hours worked” means the time during which an employee is

 8 subject to the control of an employer, and includes all the time the employee is

 9 suffered or permitted to work, whether or not required to do so, and in the case of an

10 employee who is required to reside on the employment premises, that time spent

11 carrying out assigned duties shall be counted as hours worked.

12        65.    At all relevant times, Labor Code §1197 provides that the minimum
13 wage for employees fixed by the IWC is the minimum wage to be paid to

14 employees, and the payment of a lesser wage than the established minimum is

15 unlawful. Further, pursuant to the IWC Wage Order and Labor Code, Plaintiffs and

16 Class Members are to be paid minimum wage for each hour worked, and cannot be

17 averaged At all times relevant, the IWC wage orders applicable to Plaintiffs and

18 Class Members’ employment by Defendants provided that employees working for

19 more than eight (8) hours in a day or forty (40) hours in a work week are entitled to
20 overtime compensation at the rate of one and one-half times the regular rate of pay

21 for all hours worked in excess of eight (8) hours in a day or forty (40) hours in a

22 work week. An employee who works more than twelve (12) hours in a day is

23 entitled to overtime compensation at a rate of twice the regular rate of pay.

24        66.    At all relevant times, Labor Code §1197.1 states “[a]ny employer or
25 other persons acting individually as an officer, agent, or employee of another

26 person, who pays or causes to be paid to any employee a wage less than the

27 minimum fixed by an applicable state or local law, or by an order of the commission

28 shall be subject to a civil penalty, restitution of wages, liquidated damages payable

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 1 to the employee, and any applicable penalties pursuant to Section 203.

 2        67.   Labor Code §510 codifies the right to overtime compensation at the
 3 rate of one and one-half times the regular rate of pay for all hours worked in excess

 4 of eight (8) hours in a day or forty (40) hours in a work week and to overtime

 5 compensation at twice the regular rate of pay for hours worked in excess of twelve

 6 (12) hours in a day or in excess of eight (8) hours in a day on the seventh day of

 7 work in a particular work week.

 8        68.   At all times relevant, Plaintiffs and Class Members regularly performed
 9 non-exempt work and thus were subject to the overtime requirements of the IWC

10 Wage Orders, CCR § 11000, et. seq. and the Labor Code.

11        69.   At all times relevant, Plaintiffs and Class Members consistently worked
12 in excess of eight (8) hours in a day and/or forty (40) hours in a week and

13 Defendant’s failed to accurately calculate overtime pay to Plaintiffs and Class

14 Members.

15        70.   At all times relevant, Plaintiffs and Class Members consistently worked
16 off-the-clock, and for unlawfully deducted 30-minute meal periods that were not

17 provided, resulting in an inaccurate payment of minimum and overtime wages to

18 Plaintiffs and Class Members.

19        71.   Defendants further failed to incorporate bonuses, shift differentials, and
20 other remunerations into the employees’ regular rates of pay for purposes of

21 calculating overtime.

22        72.   At all times relevant, Defendants have failed to accurately pay
23 minimum and overtime owed to Plaintiffs and Class Members.

24        73.   Accordingly, Defendants owe Plaintiffs and Class Members minimum
25 and overtime wages, and have failed to pay Plaintiffs and Class Members their

26 wages owed.

27        74.   Pursuant to Labor Code §§ 510, 558 and 1194, Plaintiffs and Class
28 Members are entitled to recover their unpaid wages and overtime compensation, as

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 1 well as interest, costs, and attorneys’ fees.

 2                            SECOND CAUSE OF ACTION
 3   FAILURE TO PROVIDE MEAL PERIODS OR COMPENSATION IN LIEU
 4                                        THEREOF
 5                                (Against All Defendants)
 6        75.     Plaintiffs incorporate and re-alleges each and every allegation
 7 contained above as though fully set forth herein.

 8        76.     Pursuant to Labor Code §512, no employer shall employ an employee
 9 for a work period of more than five (5) hours without providing a meal break of not

10 less than thirty (30) minutes in which the employee is relieved of all of his or her

11 duties. An employer may not employ an employee for a work period of more than

12 ten (10) hours per day without providing the employee with a second meal period of

13 not less than thirty (30) minutes, except that if the total hours worked is no more

14 than twelve (12) hours, the second meal period may be waived by mutual consent of

15 the employer and the employee only if the first meal period was not waived.

16        77.    Pursuant to the IWC wage orders applicable to Plaintiffs and Class
17 Members’ employment by Defendants, in order for an “on duty” meal period to be

18 permissible, the nature of the work of the employee must prevent an employee from

19 being relieved of all duties relating to his or her work for the employer and the
20 employees must consent in writing to the “on duty” meal period. On information

21 and belief, Plaintiffs and Class Members did not consent in writing to an “on duty”

22 meal period. Further, the nature of the work of Plaintiffs and Class Members was

23 not such that they were prevented from being relieved of all duties. Despite the

24 requirements of the IWC wage orders applicable to Plaintiffs’s and Class Members’

25 employment by Defendants and Labor Code §512 and §226.7, Defendants did not

26 provide Plaintiffs and Class Members with all their statutorily authorized meal

27 periods.

28        78.    For the four (4) years preceding the filing of this lawsuit, Defendants

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 1 failed to provide Plaintiffs and Class Members, timely and uninterrupted meal

 2 periods of not less than thirty (30) minutes pursuant to the IWC wage orders

 3 applicable to Plaintiffs and Class Members’ employment by Defendants. As a

 4 proximate result of the aforementioned violations, Plaintiffs and the other Class

 5 Members have been damaged in an amount according to proof at time of trial.

 6        79.    By their failure to provide a compliant meal period for each shift
 7 worked over five (5) hours and their failure to provide a compliant second meal

 8 period for any shift worked over ten (10) hours per day by Plaintiffs and the Class

 9 Members, and by failing to provide compensation in lieu of such non-provided meal

10 periods, as alleged above, Defendants violated the provisions of Labor Code

11 §§226.7 and 512 and applicable IWC Wage Orders.

12        80.    Plaintiffs and the Class Members she seeks to represent did not
13 voluntarily or willfully waive meal periods and were regularly required to work

14 shifts without being provided all of their legally required meal periods. Defendants

15 created a working environment in which Plaintiffs and Class Members were not

16 provided all of their meal periods due to shift scheduling and/or work related

17 demands placed upon them by Defendants as discussed above. On information and

18 belief, Defendants implemented a policy and practice which resulted in systematic

19 and class-wide violations of the Labor Code.
20        81.    On information and belief, Defendants’ violations have been
21 widespread throughout the liability period and will be evidenced by Defendants’

22 time records for the Class Members.

23        82.    As a result of the unlawful acts of Defendants described herein,
24 Plaintiffs and the Class Members they seek to represent have been deprived of

25 premium wages in amounts to be determined at trial. Pursuant to Labor Code

26 §226.7, Plaintiffs and Class Members are entitled to recover one (1) hour of

27 premium pay for each day in which a meal period was not provided, along with

28 interest and penalties thereon, attorneys’ fees, and costs.

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 1                            THIRD CAUSE OF ACTION
 2    FAILURE TO PROVIDE REST PERIODS OR COMPENSATION IN LIEU
 3                                      THEREOF
 4                               (Against All Defendants)
 5        83.   Plaintiffs incorporate and re-alleges each and every allegation
 6 contained above as though fully set forth herein.

 7        84.   Pursuant to the IWC wage orders applicable to Plaintiffs and Class
 8 Members’ employment by Defendants, “Every employer shall authorize and permit

 9 all employees to take rest periods, which insofar as practicable shall be in the middle

10 of each work period…. [The] authorized rest period time shall be based on the total

11 hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours

12 worked or major fraction thereof…. Authorized rest period time shall be counted as

13 hours worked, for which there shall be no deduction from wages.” Labor Code

14 §226.7(a) prohibits an employer from requiring any employee to work during any

15 rest period mandated by an applicable order of the IWC.

16        85.   Defendants were required to authorize and permit employees such as
17 Plaintiffs and Class Members to take rest periods, based upon the total hours worked

18 at a rate of ten (10) minutes net rest per four (4) hours worked, or major fraction

19 thereof, with no deduction from wages. Despite said requirements of the IWC wage
20 orders applicable to Plaintiffs’ and Class Members’ employment by Defendants,

21 Defendants failed and refused to authorize and permit Plaintiffs and Class Members,

22 to take ten (10) minute rest periods for every four (4) hours worked, or major

23 fraction thereof.

24        86.   On information and belief, Defendants created a working environment
25 in which Plaintiffs and Class Members were not provided all of their rest periods

26 due to shift scheduling and/or work related demands placed upon them by

27 Defendants to meet the needs of Defendants’ business as discussed above. On

28 information and belief, Defendants implemented a policy and practice which

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 1 resulted in systematic and class-wide violations of the Labor Code. On information

 2 and belief, Defendants’ violations have been widespread throughout the liability

 3 period.

 4        87.    As a proximate result of the aforementioned violations, Plaintiffs and
 5 Class Members have been damaged in an amount according to proof at time of trial.

 6 Pursuant to Labor Code §226.7, Plaintiffs and Class Members are entitled to recover

 7 one (1) hour of premium pay for each day in which Defendants failed to provide a

 8 rest period to Plaintiffs and the Class, plus interest and penalties thereon, attorneys'

 9 fees, and costs.

10                              FOURTH CAUSE OF ACTION
11                     FAILURE TO PAY TIMELY PAY WAGES
12                                (Against All Defendants)
13        88.    Plaintiffs incorporate and re-alleges each and every allegation
14 contained above as though fully set forth herein.

15        89.    Labor Code §§201-202 requires an employer who discharges an
16 employee to pay compensation due and owing to said employee immediately upon

17 discharge and that if an employee voluntarily leaves his or her employment, his or

18 her wages shall become due and payable not later than seventy-two (72) hours

19 thereafter, unless the employee has given seventy-two (72) hours previous notice of
20 his or her intention to quit, in which case the employee is entitled to his or her wages

21 on their last day of work.

22        90.    Labor Code §203 provides that if an employer willfully fails to pay
23 compensation promptly upon discharge, as required by Labor Code §§201-202, the

24 employer is liable for waiting time penalties in the form of continued compensation

25 for up to thirty (30) work days.

26        91.    During the relevant time period, Defendants willfully failed and
27 refused, and continue to willfully fail and refuse, to pay Plaintiffs and Class

28 Members their wages, earned and unpaid, either at the time of discharge, or within

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 1 seventy-two (72) hours of their voluntarily leaving Defendants’ employ. These

 2 wages include regular and overtime.

 3        92.    As a result, Defendants are liable to Plaintiffs and members of the Non-
 4 Exempt Production Employee class for waiting time penalties pursuant to Labor

 5 Code §203, in an amount according to proof at the time of trial.

 6                             FIFTH CAUSE OF ACTION
 7    FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
 8                                 (Against All Defendants)
 9        93.    Plaintiffs incorporate and re-alleges each and every allegation
10 contained above as though fully set forth herein.

11        94.    Section 226(a) states that An employer, semi-monthly or at the time of
12 each payment of wages, shall furnish to his or her employee, either as a detachable

13 part of the check, draft, or voucher paying the employee’s wages, or separately if

14 wages are paid by personal check or cash, an accurate itemized statement in writing

15 showing (1) gross wages earned, (2) total hours worked by the employee, except as

16 provided in subdivision (j), (3) the number of piece-rate units earned and any

17 applicable piece rate if the employee is paid on a piece-rate basis, (4) all deductions,

18 provided that all deductions made on written orders of the employee may be

19 aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of
20 the period for which the employee is paid, (7) the name of the employee and only

21 the last four digits of his or her social security number or an employee identification

22 number other than a social security number, (8) the name and address of the legal

23 entity that is the employer.

24        95.    Section 226(a) of the California Labor Code requires Defendants to
25 itemize in wage statements all deductions from payment of wages and to accurately

26 report total hours worked by Plaintiffs and the Class including applicable hourly

27 rates among other things. Defendants have knowingly and intentionally failed to

28 comply with Labor Code sections 226 and 204 on wage statements that have been

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 1 provided to Plaintiffs and the Class.

 2        96.    IWC Wage Orders require Defendants to maintain time records
 3 showing, among others, when the employee begins and ends each work period, meal

 4 periods, split shift intervals and total daily hours worked in an itemized wage

 5 statement, and must show all deductions and reimbursements from payment of

 6 wages, and accurately report total hours worked by Plaintiffs and the Class. On

 7 information and belief, Defendants have failed to record all or some of the items

 8 delineated in Industrial Wage Orders and Labor Code §226.

 9        97.    Defendants fail to identify the amounts and hours for items listed on its
10 paystubs, including but not limited to stipend amount.

11        98.    Defendants have failed to accurately record all time worked.
12        99.    Defendants have also failed to accurately record the meal and rest
13 period premiums owed and all wages owed per pay period.

14        100. Plaintiffs and the Class have been injured as they were unable to
15 determine whether they had been paid correctly for all hours worked per pay period

16 among other things.

17        101. Defendants also failed to identify the rate of pay in their paystubs.
18        102. Pursuant to Labor Code section 226, Plaintiffs and the Class are
19 entitled up to a maximum of $4,000 each for record keeping violations.
20        103. Pursuant to Labor Code section 226.3, any employer who violates
21 subdivision (a) of Section 226 shall be subject to a civil penalty in the amount of

22 two hundred fifty dollars ($250) per employee per violation in an initial citation and

23 one thousand dollars ($1,000) per employee for each violation in a subsequent

24 citation, for which the employer fails to provide the employee a wage deduction

25 statement or fails to keep the records required in subdivision (a) of Section 226.

26                                SIXTH CAUSE OF ACTION
27           FAILURE TO INDEMNIFY NECESSARY BUSINESS EXPENSES
28                                  (Against All Defendants)

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 1        104. Plaintiffs incorporate and re-alleges each and every allegation
 2 contained above as though fully set forth herein.

 3        105. Labor Code § 2802 requires Defendants to indemnify Plaintiffs and
 4 Class Members for necessary expenditures incurred in direct consequences of the

 5 discharge of his or her duties. As a necessary part of employment, Plaintiffs and on

 6 information and belief Class Members, were not adequately reimbursed by

 7 Defendants for expenses related to all expenses incurred as a result of their personal

 8 cellphone usage and personal funds usage as described above, which was incurred

 9 as a direct consequence of the discharge of duties by Plaintiffs and Class Members.

10 Despite these realities of the job, Defendants failed to provide reimbursements.

11        106. Defendants also failed to reimburse Plaintiffs and Class Members for
12 business expenses incurred pursuant to Labor Code section 2802. For instance,

13 Plaintiffs and Class Members were required to use their personal cellphones to carry

14 out their work-related duties while under the direction and control of Defendants.

15 Plaintiffs and Class Members were required to use their personal cell phones to

16 communicate with Defendants’ management, while on and off the clock. Despite

17 these realities, Defendants failed to reimburse Plaintiffs and Class Members for their

18 personal cellphone use.

19        107. Additionally, Defendants also failed to reimburse Plaintiffs and on
20 information and belief Class Members for tools required for the job. For instance,

21 Defendants required Plaintiffs to provide their own pry bar tool, but failed to

22 reimburse Plaintiffs for the out of pocket cost.

23        108. Labor Code §2804 states in pertinent part: “Any contract or agreement,
24 express or implied, made by any employee to waive the benefits of this article or

25 any part thereof is null and void, and this article shall not deprive any employee or

26 his or her personal representative of any right or remedy to which he is entitled

27 under the laws of this State.

28        109. As a result of the unlawful acts of Defendants, Plaintiffs and the Class

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 1 Members have been deprived of un-reimbursed expense amounts to be determined

 2 at trial, and are entitled to the recovery of such amounts, plus interest and penalties

 3 thereon, attorneys’ fees, and costs, pursuant to Labor Code § 2802.

 4                              SEVENTH CAUSE OF ACTION
 5         VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200, et. seq.
 6                                  (Against All Defendants)
 7      110.    Plaintiffs incorporate and re-alleges each and every allegation
 8        contained above as though fully set forth herein.
 9      111.    Defendants’ conduct, as alleged in this complaint, has been, and
10 continues to be, unfair, unlawful, and harmful to Plaintiffs and Class Members,

11 Defendants’ competitors, and the general public. Plaintiffs seeks to enforce

12 important rights affecting the public interest within the meaning of the California

13 Code of Civil Procedure §1021.5.

14        112. Defendants’ policies, activities, and actions as alleged herein, are
15 violations of California law and constitute unlawful business acts and practices in

16 violation of California Business and Professions Code §§17200, et seq.

17        113. A violation of California Business and Professions Code §§17200, et
18 seq., may be predicated on the violation of any state or federal law. Defendants’

19 policy of failing to accurately pay overtime, failing to pay minimum wages, failing
20 to reimburse expenses, failing to provide a day’s rest in seven, failing to provide

21 accurate itemized wage statements and failing to provide Plaintiffs and the Class

22 with meal periods and rest breaks or the one (1) hour of premium pay when a meal

23 or rest break period was not provided or provided outside of the required time

24 frames, violates Labor Code § 226, §512, § 226.7, § 1194, § 2802 and applicable

25 IWC Wage Orders and California Code of Regulations.

26        114. Plaintiffs and Class Members have been personally aggrieved by
27 Defendants’ unlawful and unfair business acts and practices alleged herein by the

28 loss of money and/or property.

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 1        115. Pursuant to California Business and Professions Code §§17200, et seq.,
 2 Plaintiffs and Class Members are entitled to restitution of the wages withheld and

 3 retained by Defendants during a period that commences four (4) years prior to the

 4 filing of this complaint; an award of attorneys’ fees, interest; and an award of costs.

 5                               EIGHTH CAUSE OF ACTION
 6                  THE PRIVATE ATTORNEYS GENERAL ACT
 7                             LABOR CODE § 2698 et seq.
 8                                   (Against All Defendants)
 9        116. Plaintiffs incorporate by reference and re-alleges each and every
10 allegation contained above, as though fully set forth herein.

11        117. Plaintiffs have complied with notice requirements pursuant to Labor
12 Code section 2699.3.       Therefore, Plaintiffs may proceed with this action in a
13 representative capacity. The substance and violations set forth in this Complaint of

14 which the LWDA was provided timely notice, Plaintiffs have also sent a copy of

15 this PAGA Representative Action Complaint to the LWDA.

16        118. Plaintiffs are aggrieved employees as defined in Labor Code Section
17 2699(a). Plaintiffs bring this cause of action on behalf of all current and former

18 California Non-Exempt Employees of Defendants.

19        119. Pursuant to Labor Code section 2699(a) Plaintiffs seek to recover civil
20 penalties for which Defendants are liable due to numerous Labor Code violations as

21 set forth in this Complaint, including without limitation Labor Code section 201-

22 203, 510, 512, 558, 226, 226.3, 226.7, 1174, 1174.5, 1175, 1194, 1197, 1197.1,

23 1198, 2802, and 2698 et seq., applicable IWC Wage Orders and California Code of

24 Regulations, Title 8, section 11000 et seq.

25        120. At all times relevant, Plaintiffs and all other aggrieved employees
26 regularly performed non-exempt work in excess of 50% of the time, and thus, were

27 subject to the meal and rest break requirements of the applicable IWC wage order

28 and the Labor Code.

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 1        121. Defendants violated Labor Code section 200, 558, 1194, 1197, by
 2 failing to accurately pay at least minimum wages due as a result of Defendants’

 3 requiring Plaintiffs and aggrieved Employees to work off-the-clock as outlined

 4 above.

 5        122. Defendants violated Labor Code section 510, and 1194 by failing to
 6 accurately pay overtime wages owed as discussed above due Defendants’ requiring

 7 Plaintiffs and aggrieved Employees to work off-the-clock as outlined above.

 8 Therefore, Defendants violated section 510, and 1194 by not compensating its Non-

 9 Exempt Employees for work performed in excess of eight hours (8) in a day or forty

10 hours in a work week (40). Section 510 of the Labor Code codifies the right to

11 overtime compensation at the rate of one and one-half times the regular rate of pay

12 for all hours worked in excess of eight (8) hours in a day or forty (40) hours in a

13 work week and to overtime compensation twice the regular rate of pay for hours

14 worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a

15 day on the seventh day of work in a particular work week.

16        123. Defendants also willfully violated Labor Code sections 201-203 by
17 failing to provide all owed wages at separation from employment. Labor Code

18 sections 201 and 202 require Defendants to pay their employees all wages due either

19 at time of firing, or within seventy-two (72) hours of voluntary separation, if not
20 sooner. Section 203 of the Labor Code provides that if an employer willfully fails to

21 timely pay such wages the employer must, as a penalty, continue to pay the subject

22 employee’s wages until the back wages are paid in full or an action is commenced.

23 The penalty cannot exceed 30 days of wages.

24        124. Plaintiffs and all other aggrieved employees who were separated from
25 employment are entitled to compensation for all forms of wages earned, including

26 but not limited to compensation regular and overtime wages, but to date have not

27 received such compensation, therefore entitling them to penalties under PAGA for

28 violations of Labor Code sections 201-203.

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 1        125. On information and belief, Defendants willfully failed to pay all wages
 2 due and owing upon separation from employment. These wages include but are not

 3 limited to regular and overtime wages.

 4        126.   On information and belief, Defendants failed to provide accurate
 5 itemized wage statements which failed to include the rate of pay and total hours

 6 worked per pay period, failed to account for all hours worked, including overtime,

 7 and lastly the accurate accounting of, the lawful meal and rest period premiums due

 8 and owing to Plaintiffs and the aggrieved employees, pursuant to Labor Code

 9 section 226(a).

10        127. Defendants have failed to provide Plaintiffs and aggrieved Employees
11 rates of pay and the hours for which they worked for any given pay period.

12        128. Defendants have failed to accurately record all time worked.
13        129. Plaintiffs and aggrieved Employees have been injured as they were
14 unable to determine whether they had been paid correctly for all hours worked per

15 pay period among other things.

16        130. Pursuant to Labor Code section 226.3, any employer who violates
17 subdivision (a) of Section 226 shall be subject to a civil penalty in the amount of

18 two hundred fifty dollars ($250) per employee per violation in an initial citation and

19 one thousand dollars ($1,000) per employee for each violation in a subsequent
20 citation, for which the employer fails to provide the employee a wage deduction

21 statement or fails to keep the records required in subdivision (a) of Section 226.

22        131. On information and belief, Defendants failed to reimburse Plaintiffs
23 and aggrieved Employees for business expenses incurred as described above. Labor

24 Code § 2802 requires Defendants to indemnify Plaintiffs and aggrieved Employees

25 for necessary expenditures incurred in direct consequences of the discharge of his or

26 her duties. Despite these realities of the job, Defendants failed to provide

27 reimbursements.

28        132. Labor Code §2804 states in pertinent part: “Any contract or agreement,

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 1 express or implied, made by any employee to waive the benefits of this article or

 2 any part thereof is null and void, and this article shall not deprive any employee or

 3 his or her personal representative of any right or remedy to which he is entitled

 4 under the laws of this State.

 5        133. Additionally, Defendants have no accurate records relating to aggrieved
 6 employees’ work periods, total daily hours worked, total hours worked per payroll

 7 period and applicable pay rates, in violation of Wage Order. Similarly, Defendants

 8 failed to maintain accurate records relating to hours worked daily in violation of

 9 Labor Code sections 1174(d), 1174.5.

10        134.    As a result of Defendants' unlawful conduct, Plaintiffs and aggrieved
11 employees are entitled to penalties to the extent they were not paid at the prevailing

12 wage rate for all hours worked.

13        135. Plaintiffs and the Representative aggrieved Employees are entitled to
14 recover Penalties and attorneys’ fees and costs sunder Labor Code section 2698, et

15 seq.

16                                  PRAYER FOR RELIEF
17               WHEREFORE, Plaintiffs prays for judgment against Defendants, as
18 follows:

19                                     Class Certification
20        1.     That this action be certified as a class action;
21        2.     That Plaintiffs be appointed as the representative of the Class;
22        3.     That Plaintiffs be appointed as the representative of the Subclass; and
23        4.     That counsel for Plaintiffs are appointed as counsel for the Class and
24               Subclass.
25                                 On the First Cause of Action
26        1.     For compensatory damages equal to the unpaid balance of minimum
27 wage compensation and overtime owed to Plaintiffs and Class members as well as

28 interest and costs;

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 1        2.    For reasonable attorneys’ fees and costs pursuant to Labor Code §§
 2 510, and 1194;

 3        3.    For liquidated damages in an amount equal to the wages unlawfully
 4 unpaid and interest thereon pursuant to Labor Code §§ 1194.2, 558;

 5        4.    For such other and further relief as the Court deems proper.
 6                            On the Second Cause of Action
 7        1.    For one (1) hour of premium pay for each day in which a required meal
 8 period was not provided or not provided in a timely manner; and

 9        2.    For such other and further relief as the Court deems proper.
10                             On the Third Cause of Action
11        1.    For one (1) hour of premium pay for each day in which a required rest
12 period was not authorized or permitted; and

13        2.    For such other and further relief as the Court deems proper.
14                            On the Fourth Cause of Action
15        1.    For statutory penalties pursuant to Labor Code §203;
16        2.    For interest for wages untimely paid; and
17        3.    For such other and further relief as the Court deems proper.
18                             On the Fifth Cause of Action
19        1.    For statutory penalties pursuant to Labor Code §226;
20        2.    For interest for wages untimely paid;
21        3.    For penalties pursuant to Labor Code §266.3; and
22        4.    For such other and further relief as the Court deems proper.
23                             On the Sixth Cause of Action
24        1.    For statutory penalties pursuant to Labor Code §2802;
25        2.    For interest for wages untimely paid; and
26        3.    For such other and further relief as the Court deems proper.
27                            On the Seventh Cause of Action
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 1        1.    That Defendants, jointly and/or severally, pay restitution of sums to
 2 Plaintiffs and Class Members for their past failure to accurately pay overtime,

 3 failing to pay minimum wages, failing to reimburse expenses, failing to provide

 4 accurate itemized wage statements and failing to provide Plaintiffs and the Class

 5 with meal periods and rest breaks or the one (1) hour of premium pay when a meal

 6 or rest break period was not provided or provided outside of the required time

 7 frames as described herein to Plaintiffs and Class Members over the last four (4)

 8 years in an amount according to proof;

 9        2.    For pre-judgment interest on any unpaid wages due from the day that
10 such amounts were due;

11        3.    For reasonable attorneys’ fees that Plaintiffs and Class Members are
12 entitled to recover;

13        4.    For costs of suit incurred herein; and
14        5.    For such other and further relief as the Court deems proper.
15                            On the Eighth Cause of Action
16        1.    For penalties according to proof, pursuant to Labor Code § 2698 et
17              seq.;
18        2.    For reasonable attorneys’ fees and costs; and
19        3.    For such other and further relief as the Court deems proper.
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 1                            DEMAND FOR JURY TRIAL
 2        Plaintiffs and members of the Class and Subclass request a jury trial in this
 3 matter.

 4

 5 Dated: November 21, 2023               JAMES HAWKINS APLC
 6

 7                                        By:/s/ Gregory Mauro
                                             JAMES R. HAWKINS, ESQ.
 8                                           GREGORY MAURO, ESQ.
                                             MICHAEL CALVO, ESQ.
 9                                           LAUREN FALK, ESQ.
10                                            Attorneys for Plaintiffs and the Putative
                                              Class.
11

12 Dated: November 21, 2023               FALAKASSA LAW, P.C.
                                          BOKHOUR LAW GROUP, P.C.
13

14                                        By:/s/ Mehrdad Bokhour
                                             JOSHUA S. FALAKASSA, ESQ.
15                                           MEHRDAD BOKHOUR, ESQ.
16                                            Attorneys for Plaintiffs and the Putative
                                              Classes
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        FIRST AMENDED CONSOLIDATED CLASS AND PAGA ACTION COMPLAINT
